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                      IN THE UNITED STATED DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §               Case No: 2:16-cv-00450-RWS
                                    §
      vs.                           §               LEAD CASE
                                    §
CITIBANK NA                         §
                                    §
      Defendant.                    §
___________________________________ §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §               Case No: 2:16-cv-00447-RWS
                                    §
      vs.                           §               CONSOLIDATED CASE
                                    §
HSBC BANK USA, NATIONAL             §
ASSOCIATION                         §
                                    §
      Defendant.                    §
___________________________________ §

UNOPPOSED MOTION TO DISMISS HSBC BANK USA, NATIONAL ASSOCIATION
                       WITH PREJUDICE

       Under Federal Rule of Civil Procedure 41(a) Symbology Innovations, LLC moves the
Court to dismiss all claims by Symbology Innovations, LLC against Defendant HSBC Bank
USA, National Association with prejudice, and with each party to bear its own attorneys’ fees
and costs.
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Dated: December 15, 2016                    Respectfully submitted,
                                            /s/ Jay Johnson
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                                            ATTORNEYS FOR PLAINTIFF

                            CERTIFICATE OF CONFERENCE

The undersigned counsel for Plaintiff certifies that he met and conferred with counsel for
Defendant on December 15, 2016 and that Defendant’s counsel agrees with this motion.

                                            /s/ Jay Johnson
                                            Jay Johnson


                               CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are
being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-
5(a)(3) on December 15, 2016.

                                            /s/ Jay Johnson
                                            Jay Johnson
